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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 JASON COMPLIMENT                            )
                                             )
                             Plaintiff,      )
                                             )
        v.                                   )
                                             )         1:14-CV-00175-SEB-MJD
 HENDRICKS COUNTY SHERIFF,                   )
 ADVANCED CORRECTIONAL                       )
 HEALTHCARE INC.,                            )
 HAROLD GIBSON, in his individual            )
 capacity as Hendricks County Jail           )
 commander, and                              )
 MARK RUIZ, in his individual capacity       )
 as Hendricks County Jail Physician          )
 NADIR AL-SHAMI, in his individual           )
 capacity as Hendricks County Jail Physician )
                                             )
                             Defendant.      )


                                            ORDER
        Comes now the parties by their respective counsels having stipulated to dismiss the

 remaining Defendants, Sheriff David Galloway of Hendricks County, Jail Commander Harold

 Gibson of Hendricks County, and Advanced Correctional Healthcare, Inc., and the Court being

 duly advised hereby finds said Stipulation to be in order and hereby dismisses all remaining

 Defendants in this case with Prejudice. All costs paid. SO ORDERED.

                                                    By the Court:

         10/24/2014
 Date                                            _______________________________
                                                    United States District Court Judge
                                                  SARAH EVANS BARKER, JUDGE
                                                  United States District Court
                                                  Southern District of Indiana


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